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                  UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    No. 22-7063

    AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL
  FIRE PROTECTION ASSOCIATION, INC.; and AMERICAN SOCIETY OF
 HEATING, REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.,
                                                              Plaintiffs-Appellants,
                                         v.
                         PUBLIC.RESOURCE.ORG, INC.,
                                                               Defendant-Appellee.

    NOTICE OF PARTIES’ CONSENT TO PARTICIPATION AS AMICI
                           CURIAE

   Pursuant to Circuit Rule 29(b), Raymond A. Mosley and Robert C. Tapella

represent to this Court that they intend to participate in this case as amici curiae.

The proposed amici have the consent of all parties to do so.

   Being individuals participating in their individual capacities, no corporate

disclosure statement is required under Circuit Rule 26.1(a).

                                 Respectfully submitted,


Dated: December 7, 2022          /s/ Charles Duan
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